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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  YVONNE EDWARDS, Individually and as )
  Mother and Next Friend of Z.W., a   )
  Minor,                              )
                                      )            Court No. 1:19-CV-03370
              Plaintiffs,             )
         v.                           )            Judge: Honorable Robert M. Dow, Jr.
                                      )
  ORANGE LAKE COUNTRY CLUB, INC., a )              Magistrate: Honorable M. David Weisman
  Delaware Corporation,               )
                                      )
              Defendant.              )

                             MOTION FOR LEAVE TO SEAL
                           AND TO FILE REDACTED PLEADING

       NOW COME the Plaintiffs, YVONNE EDWARDS, Individually and as Mother and

Next Friend of Z.W., a Minor, by their attorneys ZNEIMER & ZNEIMER P.C., and pursuant

to Fed. R. Civ. P. 15(a) respectfully ask this Court for an Order sealing the initial

Complaint in this matter [Doc. 1], and for leave to file a fully redacted Complaint prior to

service. In support of their Motion, the Plaintiffs state as follows:

       1.      On May 20, 2019, the Plaintiffs filed a Complaint against the Defendant.

       2.      One of the Plaintiffs is a minor, identified only by her initials.

       3.      Inadvertently, in paragraph 33 of the Complaint, the minor’s name was left

unredacted.

       4.      Upon realizing her error, Plaintiff’s counsel immediately contacted the

Clerk of the Court alerting the Court to the omission.

       5.      The undersigned counsel apologizes to the Court for the oversight, and

respectfully asks the Court for an Order sealing the Complaint [Doc. 1] and for leave to

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file and serve a redacted First Amended Complaint, with the name of the minor redacted.



                                  Respectfully submitted,

                                  ____s/Sofia M. Zneimer

                                  Attorney for Plaintiff

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